Case 2:03-cv-02846-SHI\/|-dkv Document 25 Filed 08/31/05 Page 1 of 2 Page|D 43

FH.EZD sr ix l:).c:.
uNITED sTATEs DISTRICT coram

wEsTERN DISTRICT oF TENNESSEE 05 AUG 3| PH 5= 26
w:~:sTERN n:cvrsroN

 

BERTHA HERMAN,
Plaintiff,

v. Cv. Nb. 03-2846-Ma

FIRST TENNESSEE NLTIONAL CORPORATION
a/k/a FIRST TENNESSEE BANK ASSOCIATION,

Defendant.

J'[IDGMENT

Decision by Court. This action came for consideration before
the Court. The issues have been duly considered and a decision has
been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed with
prejudice, in accordance With the Consent Ordar of Dismissal,
docketed August 25, 2005. Each party shall bear its own costs and
attorneys’ fees.

APPROV'E

&: //"14____

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

A\,.JVL 21,1-»~5' nmsM.eouLo

DATE CLERK

 

 

 

(BY) D P Y CLERK

T?.is document entered on the docket him in comp¥'\ance
with Ruie 55 andfor 7913) FRGP on__ _ .Q_ (_F_ _Q: :)

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:03-CV-02846 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

lack L. Halliburton

TAYLOR HALLIBURTON & LEDBETTER
254 Court Ave.

Ste. 303

Memphis7 TN 38103

Whitney Fogerty

LEWIS FISHER HENDERSON CLAXTON & MULROY
6410 Poplar Ave.

Ste. 300

Memphis7 TN 38119

Frederick J. LeWis

LEWIS FISHER HENDERSON & CLAXTON, LLP
6410 Poplar Ave.

Ste. 300

Memphis7 TN 38119

Honorable Samuel Mays
US DISTRICT COURT

